       Case 1:14-cv-06852-KPF-SDA Document 142 Filed 06/17/19 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x

WINTER INVESTORS, LLC, et al.,

                                            Plaintiffs,                14 Civ. 6852 (KPF)

                 v.
SCOTT PANZER, et al.,

                                            Defendants.

-----------------------------------------------------------x

                              CONSENT TO CHANGE OF ATTORNEY

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, that

The Relkin Law Firm, with offices at 15 Stewart Place, Suite 12D, White Plains, New York 10603,

is substituted for the law firm of Lewis S. Fischbein, P.C., as the attorney of record for Plaintiff

Winter Investors, LLC in the above-captioned action as of the date hereof, and this substitution is

effective immediately without further notice; and

        IT IS FURTHER STIPULATED AND AGREED that this stipulation may be executed

in counterparts and by facsimile, and that such facsimile signatures shall be deemed the equivalent

of original signatures for purposes of this stipulation.

 Dated: New York, NY
        June 14, 2019

 LEWIS S. FISCHBEIN, P.C.                                      THE RELKIN LAWDigitally
                                                                              FIRM     signed by David H.

                                                                    David H.             Relkin, Esq.
                                                                                         DN: cn=David H. Relkin, Esq., o,
                                                                                         ou=The Relkin Law Firm,


 By: __________________________
      ________________________                                      Relkin, Esq.         email=David@Relkinlaw.com,

                                                               By: __________________________
                                                                                         c=US
                                                                                         Date: 2019.05.30 11:46:07 -04'00'

       Lewis S. Fischbein                                            David Harlow Relkin
       2727 Henry Hudson Parkway, Suite 609                          15 Stewart Place, Suite 12D
       Bronx, New York 10463                                         White Plains, New York 10603
       (914) 772-7491                                                (212) 244-8722
       lfischbein@wsmblaw.com                                        david@relkinlaw.com
 Withdrawing Counsel for Plaintiff Winter                      Substituting Counsel for Plaintiff Winter
 Investors, LLC                                                Investors, LLC

                                                                                                                             1
     Case 1:14-cv-06852-KPF-SDA Document 142 Filed 06/17/19 Page 2 of 2




__________________________
JACOB FRYDMAN
P.O. Box 2008
Hyde Park, New York 12538
(917) 578-3800
jf@frydco.com
Co-Plaintiff Pro Se


Agreement and Acceptance:

Jacob Frydman hereby declares pursuant to
28 U.S.C. § 1746 as follows:

  1. I am the manager of Plaintiff Winter
Investors, LLC (“Winter”).

  2. On behalf of Winter, I am in agreement
with and accept the foregoing Consent to
Change of Attorney.

   3. I declare under penalty of perjury that the
foregoing is true and correct.

Dated: June 14, 2019


______________________
Jacob Frydman




Dated: June 14, 2019                                SO ORDERED.
       New York, New York



                                                    HON. KATHERINE POLK FAILLA
                                                    UNITED STATES DISTRICT JUDGE



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